        Case 4:20-cv-02058-ACA                   Document 354-5                 Filed 03/03/25            Page 1 of 16                      FILED
                                                                                                                                   2025 Mar-03 PM 09:31
                                                                                                                                   U.S. DISTRICT COURT
                                                                                                                                       N.D. OF ALABAMA
                                                                                                                           Page 10 16
                                                                                            A000 Institutional Vulnerability Analysis


                                          Alabama Department of Corrections
                                           Institutional Vulnerability Analysis


                                Institution Name:           St. Clair Correctional Facility

       Date:   May 9, 2016


       DOCUMENT PURPOSE


               To promote sensitivity to potential threats which could compromise the safe and secure operation of
               institutions within the Alabama Department of Corrections.

           •   To provide asense of what threats require the prioritized appropriation of agency resources

           • To assess current institutional preparedness

           •   To reduce identified vulnerability(ies) to an acceptable level

           •   To provide guidance as the emergency preparedness process evolves

           •   To aid ADOC staff in establishing documents, training, exercising, and review of policy at the agency and
               institutional level, including consistency across institutions and divisions of the agency


       DOCUMENT USE:

       This document relies upon the honest, subjective, but educated, decisions of an institution's' management team.
       It is not meant to, nor can it, address all information regarding risk factors and assessment, It should promote
       thought-provoking discussion and perhaps generate additional factors, which warrant review and consideration.
       Some words or phrases such as immediate vicinity are purposely not defined, as it is the institution's challenge to
       identity vulnerabillty(ies) in relation to the institution and community. It is best completed in agroup setting that
       includes the facility management and staff with institutional and community involvement. As the team proceeds
       through the document, the answers to each section should guide the responses to the subsequent sections.

       This assessment tool is meant to be adynamic and evolving tool, which is reflective of the Alabama Department
       of Corrections. It your discussion provides additional factors worthy of consideration, enter them directly on the
       form. Use additional pages as necessary to fully explain and evaluate the issues. This form shall become a
       historical reference in order to document each year's activities and process.

       The completed document will assist each institution in ensuring that it is prepared for an emergency situation.
       The results will provide direction for long term planning.

       This process will be completed annually. A copy of this risk assessment shall be forwarded to the Associate
       Commissioner-Operations no later than the last day in April each year. Major chances that impact the institution
       shall necessitate anew assessment earlier than the annual interval.




                                                        1



HIGHLY CONFIDENTIAL                                                                                                   ADOC-TP-O 18828
        Case 4:20-cv-02058-ACA                   Document 354-5               Filed 03/03/25              Page 2 of 16

                                                                                                                          Page 201 15
                                                                                            A000 Institutional Vulnerabtily,Analysis



                                                          SECTION I

                                           INSTITUTIONAL OVERVIEW


       Transportation Networks:


                              Transoortation System                            Proximity to the Institution
       Airport Birmingham-shuttlesworth International Airport                             miles
       Interstate/ Major Highway Interstate 59                                             lIes
       Railroad                                                                       Miles
       Other:




       Community Support Services:

                     Service                   Proximity to the Institution         Resoonse Time
       Ambulance                                            lIes                        minutes
       Fire Depa rt ment                                    lies                        minutes
       Hospital                                      ffiles                             minutes
       Law Enforcement with
       Jurisdiction: Springville PD
                                                        minutes                        '    mutes
       Other Law Enforcement:
       Odenville
                                                       flmiles                             minutes
       Comments:




       There is increased potential of risk due to the institution's proximity to the following
       facilities:

                                        Risk                                   Proximity to the Institution
       Major Gas or Pipelines                                                              None
       Nuclear Power plant or other power facility                                         None
       Dam                                                                                 None
       Business or Industry wfpotential for accidents which could                          None
       contaminate air, water, or ground:

       Other:                                                                              None




                                                        2


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        Case 4:20-cv-02058-ACA                        Document 354-5                  Filed 03/03/25             Page 3 of 16


                                                                                                                                 Page 3of 15
                                                                                                  AOOC Institutional Vulnerability Analysis




                                                INSTITUTIONAL OVERVIEW


       There is an increased risk due to past weather patterns at the institution's location:

                          Weather Pattern                                      Past History (Yes or No)
       Blizzards                                                NO
       Hurricanes                                               NO
       Hail Storms                                              NO
       Electrical Storms                                        NO
       Heavy Fog                                                YES
       Extreme Winds                                            NO
       Tornadoes                                                YES
       Rain Storms with resulting flooding                      NO
       Temperature extremes                                     High:       YES                 Low: NO
       Other:




       The institution has experienced the following in the past year:

                                      Situation                                                   Yes or No
       a, Turnover of core management team members                                                  YES
       b. Change in institutional Program/mission                                                    NO
       C. Significant population increase over 10 %                                                  NO
       d. Major Remodeling/ new Construction                                                         NO
       e. Dramatic Charge in nature of population                                                    NO
       Explanations:
       New Warden Ill




       Potentially damaging litigation (list each case with details): Yes

           1.   Dunn vDunn dealing with the Americans with Disabilities Act
                             -




           2.   Duke vDunn —dealing with the security issues and safety inside the prison




       Other Risk Factors: WA




       Update of Security Equipment/or Security Systems included in recent change(s): WA




       Proposed policy changes that may impact the Institutional Operations and/or inmate population: NIA




                                                              3


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        Case 4:20-cv-02058-ACA                  Document 354-5                   Filed 03/03/25               Page 4 of 16


                                                                                                                              Fags 4;f15
                                                                                               A000 Institutional Vulnerability Analysis



                                                      SECTION II

                                    Factors which may affect vulnerability

       PHYSICAL PLANT:
       IAge                               Yes or No    Location                                       Yes or No
       Facility over 20 years old          YES        In approach or takeoff flight pattern              NO
       ID to 20 years old                  NO         In wooded area                                    YES
       Sto 10 years old                    NO         On or near earthquake fault line                   NO
       Less than 5years old                NO         In aflood plain                                    NO
       Design                                         Residential area                                  YES
       Campus style                        YES        Other (specify)                                   N/A
                                           NO         Rural:                                            YES
                                                      Within 15 minutes of population center
       Self contained buildings                       Within 30 minutes of population center
       Modular units                       NO         Perimeter
       Original Design                                Armed Perimeter                                   YES
       A non correctional public           NO         Building Serves as Perimeter                       NO
       facility
       Is currently used as designed       NO         Double Fence                                      YES
       Was designed for different          NO                                                           YES
       custody level                                  Canine Patrol
       Institutional Access                           Mobile Patrol (as needed)                         YES
       Access around perimeter Is          NO                                                           YES
       controlled                                     Motion Detection
       Access into institution is         YES                                                           YES
       controlled                                     Lethal Fence
       Access within the perimeter is     YES                                                            NO
       controlled                                     Stun Fence
       Control Center is secured          YES         No Fence                                           NO
       Other (specify)                     N/A        Single Fence                                       NO
                                                      Towers                                            YES
       Living Units                                   Well Lighted                                       NO
       Dormitory                           NO         Visibility restriction is common                   NO
       Single/double                      YES         Support Buildings
       Combination Dormitory!              NO                                                            NO
       Cell                                           Construction Primarily Flammable
       Construction Primarily              NO         Construction Primarily Non                        YES
       Flammable                                      Flammable
       Construction Primarily Non         YES                                                           YES
       Flammable                                      Equipped Auto Sprinklers
       Equipped With Sprinklers           YES         Equipped with workinq fire alarm                   NO
       Flammables stored according                                                                       NO
       to state rules and ACA                         Flammables stored according to
       guidelines                                     state rules and ACA guidelines
       Fire Hydrants
                              #outside      3
                               # inside     9

        Required Inspections                                                                        I Dates
       Fire Marshal:                                                                                  10/2015
       Deficiencies Corrected                                                                          YES



                                                      4



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        Case 4:20-cv-02058-ACA                  Document 354-5            Filed 03/03/25                 Page 5 of 16


                                                                                                                         Pgt 5   15
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        Health Department:         Last score 72                                                    2/T/16
        Deficiencies Corrected:                       In the process of being corrected
        Monthly Safety & Sanitation Inspections Completed                                       Yes

       Physical Plant (overall narrative):


                                                INMATE POPULATION



                                             CaDaci                                             #or%
       What is the designed capacity?                                                            984
       What is the operational capacity?                                                        1227
       % over or under design capacity as of the date of this report                          24.7%
       Average daily inmate count                                                               1200
       Other;

                                      Inmate Programs                                       Yes or No
       Education                                                                                YES
       Inmate Clubs                                                                              NO
       Furloughs and Passes                                                                      NO
       Formal recreation                                                                        YES
       Informal recreation                                                                      YES
       Religious Activities                                                                     YES
       Self Help Groups                                                                         YES
       Substance Abuse                                                                          YES
       Therapeutic                                                                            YES
                                        Inmate Jobs                                         Yes or No
       Correctional Industries                                                                  YES
       Farm                                                                                      NO
       Inside Labor detail                                                                      YES
       Maintenance                                                                              YES
       Outside Labor detail                                                                     YES
       Special Projects:
       Other

                     Breakdown of Facility by Race
       Caucasian                                                    362                          32%
       Hispanic                                                     0
       Native American                                              0
       Southeast Asian                                              0
       Black                                                        807                        67.8%
       Other;                                                       2                            .2
                                                            Total 1191
                 Inmate Population Comprised of: (check all that apply)                     Yes or No
       Administrative Segregation                                                               YES
       Maximum custody or Close custody                                                         YES
       Medium custody                                                                           YES
       Minimum custody (Level II)                                                               YES
       Minimum custody (Level IV)                                                               YES
       Community custody                                                                        YES



                                                       5



HIGHLY CONFIDENTIAL                                                                                                 ADOC-TP-018832
        Case 4:20-cv-02058-ACA                   Document 354-5              Filed 03/03/25               Page 6 of 16


                                                                                                                          Pa Bof 15
                                                                                           ADOC Institutional Vulnerability Analysis


        HIV                                                                                        YES
        Protective custody                                                                          NO
        Death Row                                                                                   NO
        Male                                                                                       YES
        Female                                                                                      NO
        Reception                                                                                   NO



                                      Inmates Group by:                                    I Yes or No
       According to age                                                                           NO
       Along racial lines                                                                         NO
       Security Threat Groups                                                                     NO
       Number of confirmed Security Threat Group members                                          NO
       Other (list):




                     lltecial!Unauthorlzed Activities (Use annual fioures
                                                    Total #of major disciplinary reports          1511
                                                    Total #of minor disciplinary reports           198
                                                                            # for Drugs            57
                                                                          for Weapons              103
                                                          #for Disrespect towards staff            172
                                                                      #for Contraband              81
                                                                        # for Gambling              0
                         #Possession of cellular phone or other communication device               183



                                           Use of Force
       Number of use of force incidents:                                                           120

                                           Drum Usaoe
                                                        Random Screening 34 Positive              32%
                                                       Intensive Screening 34 Positive            N/A
       What do you consider the level of drug usage to be in your facility? (Please
       explain why?) Circle one: Extensive      Moderate      Limited


                                        Extensive---
       Drugs are readily available clue to ahigh number of items thrown over the
       fences and based upon the number of positive drug test and the amount
       and variety of illegal substances confiscated.




                                    #of K-9 Drug Alerts
                                                                              Visitors              0
                                                                              Inmates               0
                                                                                 Staff              0
                                                     Contract employees or Volunteers               0




                                                          8



HIGHLY CONFIDENTIAL                                                                                                  ADOC-TP-018833
           Case 4:20-cv-02058-ACA                            Document 354-5          Filed 03/03/25                   Page 7 of 16


                                                                                                                                      Page lot ¶5
                                                                                                       A000 Institutional Vulnerability Analysis




                                    INMATE-STAFF ASSAULTS WITHOUT SERIOUS INJURY
      A. Assaulted with Weapon (specify weapon used)                                           0

      B. Assaulted by Hiring with Hand/Kicking/Slapping                                        4

      C. Assaulted by Pushlng/shovinglRamming/Bulllng/Lunging                                 60

      D. Assaulted by Water, Tea, Coffee. Food. Urine. Feces
           being Thrown or Spit Upon                                                           6

      E. Assaulted by Thrown Objects (oilier than items listed above)                          0
      F. Assaulted by Choking                                                                  0

      G. Assaulted by Biting                                                                   0

      H. Assaulted by Grabbing                                                                 0

      I.   Attempts 10 Assault                                                                 0

      J.   Verbal Threats to Assault                                                          37

      IC   Fight/Altercations                                                                  0
              Number of Incidents
              Number of Inmates Involved

      -.   Alleged Assaults                                                                    0

      V. Other (specify nature of assault)                                                     0



                                        INMATE-STAFF ASSAULTS WITH SERIOUS INJURY
      A. Assaulted with Weapon (specify weapon used)                        5—knives, boiling waler, broom sticks, batons

      B. Assaulted by Hitting with Handikicking/Slapping                                           6

      C. Assaulted by Pushing/ShovingtRamming/Butting/Lunging                                      0

      D. Assaulted by Water, Tea. Coffee, Food, Urine, Feces
           being Thrown or Spit Upon

      E. Assaulted by Thrown Objects (other than items listed above)                               0

      F. Assaulted by Choking                                                                      0

      G. Assaulted by Biting                                                                       0

      H. Assaulted by Grabbing                                                                     0

      H. Assaulted by Other (specify)                                                              0




                                                                        7



HIGHLY CONFIDENTIAL                                                                                                               ADOC-TP-018834
           Case 4:20-cv-02058-ACA                           Document 354-5                Filed 03/03/25                 Page 8 of 16


                                                                                                                                         Page 6of 15
                                                                                                          ADOC Institutional Vulnerability Analysis




                                  INMATE-INMATE ASSAULTS WITHOUT SERIOUS INJURY
      A. Assaulted with Weapon (specify weapon used)                               22— Knives, broomsticks, lock/sock

      B. Assaulted by Hitting with Hand/KIcking/SlappIng                                          34

      C. Assaulted by Pushing/Shoving/Ramming/Butting/Lunging                                      0

      D. Assaulted by Water. Tea. Coffee, Food, Urine. Feces
           being Thrown or Spit Upon                                                               0

      E. Assaulted by Thrown Objects (other than Items listed above)                               0

      F. Assaulted by Choking                                                                      0

      G. Assaulted by Biting                                                                       0

      H. Assaulted by Grabbing                                                                     0

      I.   Attempts to Assault                                                                     0

      J. Verbal Threats to Assault                                                                 0

      -.   Alleged Assaults                                                                        0

      M. Other (specify nature of assault)                                                         0




                                       INMATE-INMATE ASSAULTS WITH SERIOUS INJURY
      A. Assaulted with Weapon (specify weapon used)                               Ii - Knives, broomsticks, lock/sock

      B. Assaulted by Hitting vth Hand/Kicking/Slapping                                            23

      C. Assaulted by Pushlng/Shoving/Rammlngloutting/Lunging                                      0

      a Assaulted by Water. Tea, Coffee, Food, Urine. Feces
           being Thrown or Spit Upon

      E. Assaulted by Thrown Objects (other than items listed above)                               0

      F. Assaulted by Choking                                                                      0

      G. Assaulted by Biting                                                                       0

      H. Assaulted by Grabbing                                                                     0

      H. Assaulted by other means (specify)                                                        0




                                                                           STAFF



                                                                       8



HIGHLY CONFIDENTIAL                                                                                                                  ADOC-TP-018835
        Case 4:20-cv-02058-ACA                   Document 354-5           Filed 03/03/25            Page 9 of 16


                                                                                                                   Page DOIlS
                                                                                      ADOC InstItuonal Vulnerabitily Analysis


             Institution is Staffed according to identified needs In these areas      I Yes or No J
       Administrative                                                                       YES
       Education                                                                            YES
       Food Service                                                                         YES
       Maintenance                                                                          YES
       Health Services                                                                      YES
       Mental Health                                                                        YES
       Custody                                                                              N/A
       Unit Management                                                                      N/A
       Special Projects                                                                     N/A
       Industry                                                                             YES
       Emergency Preparedness                                                               N/A
       Other (specify):



                                Staff Organizations! Programs                             Yes or No
       Staff trust and use the employee assistance program                                   NO
       The institution has acredible employee recognition program                           NO
       The institution has aviable program for staff input                                  NO
       Other (specify)                                                                      N/A

                                         Staff Trainin                                    Yes or No
       Meets facility needs                                                                YES
       Staff training increased from last year                                             YES
       Staff training decreased from last year                                              NO
       Included identification and care of mental health inmates                           YES
       Includes Problem Resolution                                                          NO
       Includes Use of Force                                                               YES
       Additional training that should be provided:

       Comments:



                                                   Staff Issues
                           Please explain your reasoning:
       Staff Morale is:    Staff shortages
       Good                Inmate overcrowding
       Fair                No cost of living raises IPay
       Low X               Mandatory overtime
                           Stress from the number of serious and dangerous incidents
                                        Staff Issues                               Response
       Recent staff investigations have been divisive                  yes or
       no
       Explain bow if yes:


                                                                                          NO
       How many work-place harassment claims have been filed in the last year?              4
       What is the average sick leave usage?                                           5584 hours
       Staff turnover is        %               60 turnovers from 2015 to 2016            23%
       #of on-the-job injury claims filed                                                  86
       Institution employs the following number of staff                                  267
                                                                     Administration        SO
                                                                       Maintenance          6



                                                         9



HIGHLY CONFIDENTIAL                                                                                            ADOC-TP-01 8836
       Case 4:20-cv-02058-ACA                        Document 354-5             Filed 03/03/25            Page 10 of 16


                                                                                                                          Page 10 of 15
                                                                                            ADOC Institutional Vulnerability Analysis


                                        Contracted Medical and Mental Health Services               57
                                                                               Security             174
                                                          Support not identified above
                                                                            Volunteers
                                                                                  Other




                                                      PREVENTIVE ISSUES


                                 Communications Equipment                                      Yes or No
       Is adequate for institution size and staffing patterns                                   YES
       Is operational                                                                           YES
       Comments:




                                     Emergency Procedures                                      Yes or No
       The institutions Management feels the emergency planning documents are                    yes
       current and address the needs of the institution.
       All staff are familiar with and trained in the institutions emergency procedures          YES
       Management and the Facility/Program Administrator are confident in the Shift              YES
       Supervisor's ability and authority to take immediate action to resolve and/or
       mitigate any emergency
       Shirt Supervisors are confident in their ability and authority to take immediate          YES
       action to resolve any emergency.
       Inmates know what to do in an ernerqency.                                                YES
       The institution has adequate resources and staff to handle an emergency.                  NO
       The institution has plans for evacuation of aportion of or the entire institution        YES
       Emergency Preparedness exercise are routine, varied and involve all levels              Monthly
       of staff. Exercise are conducted?                              (weekly, monthly or
       quarterly)
       Comments:



       Institution has first responder system                      response time:                 Yes
       Comments:                                --




       Institution has second responders                           response time:                 NO
       Comments:


       Institution utilizes the Critical Incident Stress Management Team (CISMT)                  NO
       Comments:




                                                         10



HIGHLY CONFIDENTIAL                                                                                                   ADOC-TP-01 8837
       Case 4:20-cv-02058-ACA                     Document 354-5                  Filed 03/03/25              Page 11 of 16


                                                                                                                              Page II of 15
                                                                                                A000 Institutional Vulnerability Analysis


        Institution has Crisis Negotiation Team                         response time:                  NO
        Comments:


        Institution has Correctional Emergency Response Team           response time:                   NO
        Comments:


        Institution has Special Operations Response Team               response time:                   NO
        Comments:




                                          Evacuation                                               Yes or No
        Institution has evacuation plan for every building                                           YES
        Evacuation plans are posted within state guidelines                                          YES
        Staff and inmates are trained in evacuation procedures                                       YES
        Building evacuation drills are conducted.              (weekly, monthly or quarterly)       Monthly

                                         Staff Response                                            Yes or No
        There Is aviable recall plan in effect                                                       YES
        The majority of institutional staff live within 1hour of the institution                     YES
        A contingency plan exists in the event staff cannot respond due to alarge                    YES
        scale community wide disaster
        Comments:


                                              HISTORICAL INFORMATION


                                   Assault from the Outside:                                       Yes or No
        Curiosity seeker(s), ex-inmates, visitors have been found in unauthorized
        areas on institution property.                                                                 YES
        Institutional locale makes it vulnerable to approach from avariety of
        directions                                                                                     YES
        Comments:


                                       Bomb Threats                                                Yes or No
        Bomb threats in the community are on the rise.                                                NO
        The institution has received bomb threats in the past year                                    NO
        Inmate-made bombs have been discovered in the past year                                       NO
        Comments:


                                        Inmate Discord                                             Yes or No
        Inmates sit-downs or work stoppages/slowdowns have occurred in the past
        year                                                                                           YES
        Inmates have increased their use of passive resistance, nonviolent refusals to
        follow direction                                                                               YES
        Individual or group hunger strikes have occurred in the last five years                        YES
        Inmates cite openly that the institution cannot operate without their labor                    YES
        Comments:

                                            Escapes                                                Yes or No
        The institution has had an escape within the past five years                                 YES
        The nature of the facility and inmate activities lend itself to escape/walk away
        potential                                                                                       NO
        There are issues which need to be addressed in relation to improving an
        inmate's ability to successfully escape                                                         NO

        Comments:
        -Last escape involved an inmate on ajob assignment outside the


                                                          11



HIGHLY CONFIDENTIAL                                                                                                        ADOC-TP-018838
       Case 4:20-cv-02058-ACA                    Document 354-5               Filed 03/03/25            Page 12 of 16


                                                                                                                         Page 12 of iS
                                                                                           A000 Institutional Vulnerability Analysis

        perimeter of the facility and was not on the property of the facility
        (Road Squad).
                                          Earthquake                                          Yes or No
        Institution or community has experienced an earthquake                                   NO
        The institution has existing earthquake damage                                           NO
        Comments:

                                         Biological Threat                                    Yes or No
        The institution is particularly vulnerable to an epidemic or illness due to the
        nature of the institution '
                                  spopulation or function within the ADOC                          NO
        Steps are taken to reduce the potential for food poisoning due to the large
        number of meal(s) prepared in one location                                                YES
        Comments:

                                            Flood                                             Yes or No
        The institution has experienced flooding in the past                                     NO
        Comments:

                                      Group Disturbances                                      Yes or No
        The Institution has had more than one group disturbance in the last decade              YES
        Staff and inmates still talk about the last big disturbance"                            YES
        Comments: An Officer was attacked in Segregation. The same night multiple
        inmates stabbed aLieutenant causing serious injury to both employees.
                              Staff Work Slowdowns /Stoppage                                  Yes or No
        The institution has experienced widespread labor disputes in the past.                   NO
        Staff have voiced threats of planned work stoppage                                      YES
        Comments:

                             Hazardous Waste/Chemical Spills                                 Yes or No
        Close proximity to an industrial plant                                                  No
        Proximity to transportation network that handles HAZMAI                               3MILES
        Explain:




        Hazardous Materials/chemicals are maintained on the institution grounds in
        large or volatile quantities that pose athreat.                                           NO
        Explain:



                                      Nuclear Catastrophe                                    Yes or No
        Proximity to Nuclear facility
        miles
        Proximity to transportation network handling nuclear materials            #miles
        Comments:



                                        Structure Fire                                       Yes or No
        The institution design does promote fire prevention                                     NO
        Buildings contain avariety of combustible materials                                     NO
        Current fire prevention/protection measures are adequate.                               NO
        Comments:



                                        Utility Failure                                      Yes or No
        The institution has experienced frequent utility failures                               NO

        Utility failures due to labor disputes or sabotage are likely due to design or            NO


                                                        12



HIGHLY CONFIDENTIAL                                                                                                  ADOC-TP-01 8839
       Case 4:20-cv-02058-ACA                  Document 354-5               Filed 03/03/25             Page 13 of 16


                                                                                                                       Pa      0! 15
                                                                                          ADOC Institutional Vulnerability Analysis


        placement issues
        Back up utilities are not in place (or are not perceived as adequate) to keep
        the facility in operation in event of loss of power                                       NO
        Issues exists related to the provision of autility that is necessary for the
        institution to operate in wake of the loss of that source                                 NO

        The institution does not have an adequate alternative for drinking water in the
        event of contamination                                                                    NO
        Comments:

                                       Weather Threats                                       Yes or No
        Temperature extremes that the HVAC cannot handle leading to unsafe living
        conditions                                                                                NO
        Tornadoes and other violent storms frequent the area                                     YES
        Frequent high winds and electrical storms                                                 NO
        Winter conditions create facility isolation                                              YES
        Comments:




                                                       13



HIGHLY CONFIDENTIAL                                                                                                 ADOC-TP-018840
       Case 4:20-cv-02058-ACA                   Document 354-5                Filed 03/03/25             Page 14 of 16


                                                                                                                          Pagt14 V 15
                                                                                            ADOC Institutional VuLnerability Analysts


                  SECTION III. DECLARED EMERGENCIES IN THE PAST YEAR


                                                     Provide Narrative for each




       2.




       3,




                                       SECTION IV. CRITICAL THREATS

       Use the information developed as aresult of the information contained in Sections I, II and II to identify and list
       in order of priority the five most critical threats to the safe and orderly operation of your institution.

       Then take it one step further and provide acandid assessment of your level of preparedness to respond to the
       emergency as well as any existing factors which limit your ability to deal with the emergency.


       1, Staffing Shortage
       Assessment: The lack of an adequate number of correctional officers on post to patrol areas leaves inmates
                unattended for long periods of time. It also hinders the ability of staff to respond to incident and be able
                to control the situations, The inmate to officer ratio is too high during each shift. Many times there are
                1300 inmate with only 30 correctional officers inside the facility 44:1 ratio on adaily basis. The ratio is
                higher on the Night Shift.


       2. Public Access
       Assessment:       Due to the layout of the facility and its proximity to public roads, there have been major issues
                with people throwing contraband over the fence. Drugs and cell phone packages have been confiscated;
                however, an incident occurred where a package was intercepted when the Officer working in the tower
                saw acivilian running away from the fence. That package contained 2 handguns. After locking down the
                facility and some investigation, it was discovered that there was already ammunition inside the facility.




       3. Tuberculosis (TB)
       Assessment: For six months or more the facility was vulnerable to infectious diseases within the facility. Due to
               the way the disease spreaded It was dangerous to all persons inside the facility. The active disease
               prevents the movement of inmates out of the facility, which in turns hinders the ability to transfer inmates
               to other facilities for custody reductions, remove inmate enemies from the facility, assist other facility by
               accepting higher level security inmates, etc. This situation is further exacerbated by the lack of negative
               pressure housing areas.



                                                        14


HIGHLY CONFIDENTIAL                                                                                                   ADOC-TP-018841
       Case 4:20-cv-02058-ACA                    Document 354-5                Filed 03/03/25           Page 15 of 16


                                                                                                                         Page 1$ of 15
                                                                                           A000 institutional Vulnerabilily Analysis




       4. Weather events
       Assessment: Weather is unpredictable. During the Feb/March, severe tornados and snowlice may strike the
              area. The weather events are a threat because of their unpredictability,and the paralyzing effect they
               have on the facility and the surrounding area. When these extreme weather events occur it causes
              staffing shortages to be exacerbated. It also isolates the facility due to its location. Although the facility
               is self-sustaining in many ways, weather event make it more difficult to continue normal operations


       5.
       Assessment:




       Institution or Division name: St. Clair Correctional Facility


       Dale Risk Assessment Was Conducted           May 9, 2016


                             List of Individuals Who Participated in the Assessment Process:


        NAME                                                       TITLEIWORK AREA
        Cedric Specks                                              Warden II




               Warden or Division Director                                                           Date




                                                         15



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       Case 4:20-cv-02058-ACA              Document 354-5           Filed 03/03/25             Page 16 of 16


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                                                                                  ADOC Institutional Vulnerability Analysis



                                                 SECTION V
                                          GOALS (current year)


       I     Increase security and support staffing


       2.   Complete the installation of new security locks on all locking mechanisms


       3.   Have security cameras and mirrors installed throughout the facility


       4.   Stop the introduction of contraband into the facility


       5.   Provide asafer environment for staff and inmates


       6.   Pass the PREA Audit


       7.   Concentrate more on rehabilitation to reduce recidivism.


       6.   Increase employee moral




                                                 16



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